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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number 1:22-CR-00334

MIKHAIL SLYE
(Defendant)

 

TO: ANGELA CAESAR, CLERK
YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

[] cua [=] RETAINED FEDERAL PUBLIC DEFENDER

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PLEASE PRINT THE FOLLOWING INFORMATION:

Michael T. van der Veen / 75616

(Attorney & Bar ID Number)

van der Veen, Hartshorn & Levin
(Firm Name)

1219 Spruce Street

(Street Address)

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(City) (State) (Zip)

215-546-1000

(Telephone Number)

 

 

 

 

 
